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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION

                                            Case No. 20-cv-60719-WPD


         ITAMAR MEDICAL LTD.,

                                        Plaintiff,

                               v.

         ECTOSENSE NV, and VIRTUOX, INC.,

                                        Defendants.


                 PLAINTIFF ITAMAR MEDICAL LTD.’S EXPEDITED REQUESTS FOR
               PRODUCTION OF DOCUMENTS RELATED TO MOTION TO DISQUALIFY
                   Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiff Itamar Medical Ltd.

        (“Itamar”) hereby requests that Defendant Ectosense nv (“Ectosense”) respond to the following

        Requests for Production (“Requests”), separately and fully in writing and under oath, within ten

        (10) days after service hereof. To the extent permitted by Federal Rule of Civil Procedure 26, these

        Requests are deemed continuing and the responses must be supplemented promptly upon

        acquisition of further or additional information.

                                      DEFINITIONS AND INSTRUCTIONS

             1.           “Ectosense,” “You,” “your,” and “Defendant” means Ectosense nv, its officers,

        directors, members, managers, agents, consultants, contractors, employees, attorneys, accountants,

        predecessors, successors, parents, subsidiaries, divisions, affiliates, assigns and representatives,

        and any person or entity, past or present, acting on its behalf, including, but not limited to Mats

        Dahlqvist.




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             2.         “Dahlqvist Declaration” means the Declaration of Mats Dahlqvist dated August

        18, 2021, submitted to the Court in this case.

             3.        “Benoot Declaration” means the Declaration of Arnold Benoot, General Counsel

        of Saffelberg Investments nv dated July 28, 2021, submitted to the Court in this case.

             4.        “Saffelberg” means Saffelberg Investments nv, its officers, directors, members,

        managers, agents, consultants, contractors, employees, attorneys, accountants, predecessors,

        successors, parents, subsidiaries, divisions, affiliates, assigns and representatives, and any person

        or entity, past or present, acting on its behalf, including, but not limited to Arnold Benoot.

             5.        “Plaintiff” and “Itamar” mean plaintiff Itamar Medical, Ltd., its officers, directors,

        members, managers, agents, consultants, contractors, employees, attorneys, accountants,

        predecessors, successors, parents, subsidiaries, divisions, affiliates, assigns and representatives,

        and any person or entity, past or present, acting on its behalf.

             6.        “Person(s)” means any natural person or any legal entity, including, without

        limitation, any business or governmental entity or association.

             7.        “Identify” means: (a) with respect to a natural person, to set forth the person’s full

        name, present or last known address, and present or last known employer; (b) with respect to a

        person who is an organization, government or business entity, to state the entity’s full formal

        name(s) and any d/b/a, its form, and present or last known address; (c) with respect to a document,

        the (i) type of document, (ii) general subject matter, (iii) date of the document, and (iv) authors,

        addressees, and recipients.

             8.        “Communication” means any inquiry, discussion, conversation, negotiation,

        agreement, understanding, meeting, telephone conversation, letter, e-mail, text message, social




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        media post or message, note, telegram, report, notice, voicemail, and written intercourse through

        any document (as defined below).

             9.        “Document” and “documents” are to be construed broadly in light of Federal Rule

        of Civil Procedure 34(a) and Federal Rule of Evidence 1001, and mean every type of writing,

        recording, or photograph, including e-mail, and exhibits and attachments to documents.

        “Document” or “documents” includes both the original of a document and each copy or draft of

        the document that contains any additional writing, notations or interlineations or is in any respect

        not an identical copy of the original. Attachments, exhibits, appendices, schedules, and enclosures

        to documents are considered part of the same document.

             10.       The use of the terms “and,” “or,” and “and/or” should be construed conjunctively

        and disjunctively for the broadest possible meaning.

             11.       The use of terms, phrases, and definitions is for convenience and no term, phrase,

        or definition shall be construed as an admission.

             12.       Any word that is not defined has its usual and customary meaning.

             13.       The singular use of any term or phrase includes its plural, and the plural of any term

        or phrase includes its singular.

             14.       Each request set forth should be construed independently, and not in reference to

        any other interrogatory for purposes of limitation.

             15.       Pursuant to Federal Rule of Civil Procedure 34, in producing the requested

        documents, furnish all documents in your actual or constructive possession, custody or control

        including, without limitation, documents which may be in the physical possession of another

        person or entity such as your advisors, attorneys, investigators, employees, agents, associates,

        affiliates, or representatives. You are to designate any information that is not within your personal




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        knowledge, and as to that information, you are to state the name and address of every person from

        whom it was received, or if the source of the information is documentary, a full description of the

        document including its title and location.

             16.       If a document otherwise responsive to a request was, but no longer is, in your actual

        or constructive possession, custody or control, please state whether the document (a) is lost or

        destroyed; (b) has been transferred to another person or entity either voluntarily or involuntarily;

        or (c) has been otherwise disposed of, and, in each instance; (d) explain the circumstance

        surrounding the disposition, including the date or approximate date of the disposition.

             17.       If any requested document cannot be produced or cannot be produced in full, please

        produce it to the extent possible, indicating what portion or portions are being withheld and the

        reason it is being withheld.

             18.       If there are responsive documents which constitute “electronically stored

        information” (“ESI”) under Federal Rule of Civil Procedure 34, such as emails that are kept in

        electronic form in the ordinary course of your business (e.g., in a Microsoft Exchange server or

        outlook database, on network backup tapes, or on an individual user’s workstation, personal

        computer, or laptop computer), then those documents shall be produced according to the terms of

        the Stipulated Order Regarding Electronic Discovery [ECF No. 87] agreed upon by the parties and

        entered by the court, or according to such other protocol regarding ESI as the parties may agree.

             19.       Whenever a request requires you to describe an act or action, omission, meeting,

        conference, discussion, occurrence, happening, instance, or event, you are to provide a full

        description thereof, including a statement setting forth: (a) the date and place thereof; (b) the

        identity of each oral communication involved and each document that refers to or that was prepared




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        or made during the course thereof or as a consequence thereof; and (c) the identity of all persons

        who were witnesses or participants.

             20.       The use herein of a particular font, capitalization, italics, or other formatting in

        connection with the description of the trademarks that are the subject of a given request is not

        intended to be limiting, and you are to interpret references to any specified trademark broadly and

        without regard to such formatting elements.

             21.       All requests must be answered completely, in writing, and under oath and signed

        by the person providing the answers. If any request cannot be answered completely after the

        exercise of reasonable diligence, the person providing the answer shall furnish as complete an

        answer as possible and then explain in detail the reason a full answer cannot be given, which shall

        include a statement indicating what is needed in order to be able to give a full answer to the

        requests.

             22.       If objection is made to the production of any document requested, please state the

        reasons for the objection. If objection is made to part of an item or category, please specify the

        part to which objection is made.

             23.       With respect to any document responsive to any request which you contend you are

        not required to produce because of an alleged privilege (which you are not presently prepared to

        waive), state for each such allegedly privileged document the following: (1) the date of the

        document; (2) the identity and position of the author(s); (3) the identity and position of all

        addressees and recipients; (4) the document’s present location; (5) the privilege asserted (e.g.,

        attorney-client, etc.); and (6) a sufficient description of the contents of the document to allow

        Itamar to determine the merits of the claim of privilege.




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                                     REQUESTS FOR PRODUCTION

        REQUEST FOR PRODUCTION NO. 1:

                      All notes of any telephone or video conversations between Mats Dahlqvist and

        Gene Kleinhendler.

        REQUEST FOR PRODUCTION NO. 2:

                      All recordings of any telephone or video conversations between Mats Dahlqvist

        and Gene Kleinhendler.

        REQUEST FOR PRODUCTION NO. 3:

                      All communications between Mats Dahlqvist and Gene Kleinhendler.

        REQUEST FOR PRODUCTION NO. 4:

                      All notes taken by Mats Dahlqvist related to conversations with Gene Kleinhendler.

        REQUEST FOR PRODUCTION NO. 5:

                      All emails sent or received by Mats Dahlqvist regarding Gene Kleinhendler.

        REQUEST FOR PRODUCTION NO. 6:

                      All notes of any telephone or video conversations with Gilad Glick on or about

        March 24, 2021.

        REQUEST FOR PRODUCTION NO. 7:

                      All recordings of any telephone or video conversations with Gilad Glick on or about

        March 24, 2021.

        REQUEST FOR PRODUCTION NO. 8:

                      All communications between Mats Dahlqvist and the third party described in

        paragraph 4 of the Dahlqvist Declaration regarding Gene Kleinhendler.




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        REQUEST FOR PRODUCTION NO. 9:

                        All communications between Mats Dahlqvist and the third party described in

        paragraph 4 of the Dahlqvist Declaration regarding Itamar.

        REQUEST FOR PRODUCTION NO. 10:

                        All documents evidencing any investigation undertaken by Mats Dahlqvist into the

        statements made by Gene Kleinhendler.

        REQUEST FOR PRODUCTION NO. 11:

                        All communications between Mats Dahlqvist and Mr. Bart Van Pee regarding Gene

        Kleinhendler.

        REQUEST FOR PRODUCTION NO. 12:

                        All communications between Ectosense and anyone at Saffelberg Investments nv

        regarding Gene Kleinhendler.

        REQUEST FOR PRODUCTION NO. 13:

                        All communications between Mats Dahlqvist and any third party regarding Gene

        Kleinhendler.

        REQUEST FOR PRODUCTION NO. 14:

                        Any communications with anyone where Mats Dahlqvist expresses that he felt

        intimidated or threated by Gene Kleinhendler.

        REQUEST FOR PRODUCTION NO. 15:

                        Any handwritten notes where Mats Dahlqvist expresses that he felt intimidated or

        threated by Gene Kleinhendler.




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        REQUEST FOR PRODUCTION NO. 16:

                       All communications between Ectosense and Saffelberg where Ectosense was

        informed “of the seriousness of the accusations made” as referenced in the paragraph 18 of Benoot

        Declaration.

        REQUEST FOR PRODUCTION NO. 17:

                       All communications between Ectosense and any third party regarding Gene

        Kleinhendler from April 12, 2021 to the present.

        REQUEST FOR PRODUCTION NO. 18:

                       All documents related to any investigation undertaken by Saffelberg into the

        statements made by Gene Kleinhendler between April 12, 2021 and the present.

        REQUEST FOR PRODUCTION NO. 19:

                       All documents related to any investigation undertaken by Ectosense into the

        statements made by Gene Kleinhendler between April 12, 2021 and the present.

        REQUEST FOR PRODUCTION NO. 20:

                       Any and all documentary evidence that Ectosense has that Gene Kleinhendler

        violated the Stipulated Protective Order in this case.

        REQUEST FOR PRODUCTION NO. 21:

                       Any and all documentary evidence that that Ectosense has that Latham & Watkins,

        LLP violated the Stipulated Protective Order in this case.

        REQUEST FOR PRODUCTION NO. 22:

                       Any and all documentary evidence that Ectosense has that Latham & Watkins, LLP

        and Gene Kleinhendler conspired to cover up the alleged violation of the Stipulated Protective

        Order in this case.




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        REQUEST FOR PRODUCTION NO. 23:

                       Documents sufficient to show the funding Saffelberg made to Ectosense prior to

        the communications with Gene Kleinhendler in April and May of 2021.

        REQUEST FOR PRODUCTION NO. 24:

                       Documents evidencing any additional funding Saffelberg was planning to provide

        Ectosense.

        REQUEST FOR PRODUCTION NO. 25:

                       All communications between Saffelberg and Ectosense between April 12, 2021,

        and the present, related in any way to Saffelberg’s funding of Ectosense.

        REQUEST FOR PRODUCTION NO. 26:

                       All communications between Saffelberg and Ectosense regarding the CPT

        reimbursement codes, including, but not limited to, CPT 95800, for the NightOwl devices.

        REQUEST FOR PRODUCTION NO. 27:

                       All documents between Saffelberg and Ectosense regarding Ectosense’s 510(k)

        clearance application for the NightOwl device.

        REQUEST FOR PRODUCTION NO. 28:

                       All documents between Saffelberg and Ectosense regarding Ectosense’s

        communications with the FDA regarding the NightOwl device.

        REQUEST FOR PRODUCTION NO. 29:

                       All Your internal communications between April 12, 2021 and September 3, 2021,

        regarding Gene Kleinhendler.




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        REQUEST FOR PRODUCTION NO. 30:

                       All Your internal communications between April 12, 2021 and September 3, 2021,

        regarding the statements in the Dahlqvist Declaration.

         REQUEST FOR PRODUCTION NO. 31:

                       All Your internal communications between April 12, 2021 and September 3, 2021,

        regarding the statements in the Benoot Declaration.



        Dated: September 9, 2021                              Respectfully submitted,

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                                                              atownsend@foley.com
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                                                              Tel.: (305) 482-8400

                                                              Counsel for Plaintiff




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                                         CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that on the __ day of September 2021, a true and correct copy of

        the foregoing was electronically served on all counsel of record as listed in the Service List below.




                                                              _________________

                                                              Jessica N. Walker




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                                          SERVICE LIST

                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA
                              Case No. 20-cv-60719- DIMITROULEAS/SNOW

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                                                  Stewart Mesher
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                                                  (admitted pro hac vice)

                                                  Counsel for Defendant VirtuOx, Inc.




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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION

                                            Case No. 20-cv-60719-WPD


         ITAMAR MEDICAL LTD.,

                                        Plaintiff,

                               v.

         ECTOSENSE NV, and VIRTUOX, INC.,

                                        Defendants.


             PLAINTIFF ITAMAR MEDICAL LTD.’S NOTICE OF DEPOSITION OF MATS
                                     DAHLQVIST
                   Pursuant to Federal Rules of Civil Procedure 26 and 30, Plaintiff Itamar Medical Ltd.

        (“Itamar”) will take the deposition of Mats Dahlqvist five business days after Defendant Ectosense

        nv produces documents in response to Itamar’s Expedited Requests for Production of Documents

        Related to Motion to Disqualify at 10 a.m. Eastern Time, via Virtual Veritext Meeting with

        Meeting ID and Password to be provided by Court Reporting Firm, or such other date agreed to

        by Itamar, before a Notary Public or other official duly authorized to administer oaths. The

        deposition will last within the duration provided by Rule 30(d). Notice is further given that the

        deposition testimony will be recorded by stenographic means, by videotape, and real time

        transcription services may be utilized.

        Dated: September 9, 2021                             Respectfully submitted,

                                                             /s/ Laura Ganoza
                                                             FOLEY & LARDNER LLP
                                                             Laura Ganoza, Esq.
                                                             Florida Bar No. 0118532
                                                             lganoza@foley.com



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                                         24



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                                              Tel.: (305) 482-8400

                                              Counsel for Plaintiff




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                                         24



                                         CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that on the __ day of September 2021, a true and correct copy of

        the foregoing was electronically served on all counsel of record as listed in the Service List below.




                                                              ___________________

                                                              Jessica N. Walker




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                                          SERVICE LIST

                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA
                              Case No. 20-cv-60719- DIMITROULEAS/SNOW

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          sxc@trippscott.com                      Counsel for Plaintiff Itamar Medical Ltd.

          Counsel Ectosense NV
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          Co-Counsel Ectosense NV                 Co-Counsel for Plaintiff Itamar Medical Ltd.

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                                                  Counsel for Defendant VirtuOx, Inc.




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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      FORT LAUDERDALE DIVISION

        ITAMAR MEDICAL LTD.,

                          Itamar,
        v.                                                   Case No. 20-cv-60719
                                                             DIMITROULEAS/SNOW
        ECTOSENSE NV, and VIRTUOX, INC.,

                          Defendants.

        _____________________________________/

         REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE (LETTER ROGATORY)

                The United States District Court for the Southern District of Florida presents its
        compliments to the Federal Public Service Justice of Belgium (the "FPSJ"), and requests its
        assistance to obtain evidence to be used in a civil proceeding before this Court in the above-
        captioned matter (the "Florida Proceeding").

               The assistance requested is an order for (1) the production of documents by Saffelberg
        Investments nv (“Saffelberg”), a company carrying on business in Belgium with its registered
        head-office in Gooik, Vlaams-Brabant, Belgium, (2) the appearance for examination under oath
        of Arnold Benoot, the general counsel of Saffelberg, who resides in Gooik, Vlaams-Brabant,
        Belgium, and (3) the appearance for examination under oath of a corporate representative of
        Saffelberg.

                 This Court is satisfied that the evidence sought is relevant to the claims and defenses in the
        Florida Proceeding. The evidence sought would normally be subject to subpoena by Itamar. Itamar
        Medical Ltd. (“Itamar”) pursuant to Federal Rule of Civil Procedure 45, but a subpoena so issued
        is not effective in Belgium. Accordingly, the evidence may only be obtained through the
        intervention of the FPSJ, and this Court is persuaded that such intervention is in the interests of
        justice.

                   1. Requesting Judicial Authority:

                      Honorable Lurana S. Snow
                      United States Magistrate Judge
                      U.S. Federal Building and Courthouse
                      299 East Broward Boulevard
                      Room 203D
                      Fort Lauderdale, Florida 33301
                      Tel. 1-954-769-5460

                   2. Names And Addresses Of The Parties And Their Representatives:


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                                         24




                   a. Plaintiff:

                      Itamar Medical Ltd.
                      9 Halamish Street,
                      POBox 3579
                      Caesarea,
                      3088900 Israel

                   b. Plaintiff’s Representatives:

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                      Foley & Lardner LLP
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                      Tel.: (305) 482-8400

                      Gene Kleinhendler, Esq.
                      gene@gk-ad.com
                      GK Advisory
                      72 Ahad Haam St.,
                      Tel Aviv 6520512
                      Israel
                      (972) 3-735-6168

                   c. Defendants:

                      Ectosense nv
                      19 Bosbessenlaan, bus A 3110
                      Rotselaar, Belgium

                      VirtuOx, Inc.
                      5850 Coral Ridge Drive
                      Suite 304
                      Coral Springs, FL 33076

                   d. Defendant Ectosense’s Representatives:

                      Seth J. Donahoe, Esq.
                      sjd@trippscott.com
                      Tripp Scott, PA
                      110 SE 6th Street




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                         e. Defendant VirtuOx’s Representatives

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                            jonathan.mortan@klgates.com
                            Southeast Financial Center, Suite 3900
                            200 South Biscayne Boulevard
                            Miami, Florida 33131

                   3. Nature And Purpose Of The Proceedings And Summary Of The Facts:
               Itamar filed a trademark infringement and false advertising action complaint in the United
        States District Court for the Southern District of Florida on April 9, 2020. On July 15, 2021, Itamar
        moved for the admission pro hac vice of Gene Kleinhendler (“Mr. Kleinhendler”) and his
        colleague Anna Adamsky, both of the law firm of GK Advisory. The Court granted the motions
        for pro hac vice admission by order dated July 21, 2021.

               On September 3, 2021, Ectosense filed a Motion to Disqualify Mr. Kleinhendler and for
        sanctions against Itamar and Mr. Kleinhendler. Specifically, Ectosense alleges that Mr.
        Kleinhendler engaged in prohibited communication with Ectosense’s Board Member, and
        thereafter with Ectosense’s investor, Saffelberg and Mr. Benoot, for the sole and exclusive purpose
        of issuing a threat of extortion. In support of Ectosense’s Motion, Mr. Benoot provided this Court
        a Sworn Declaration on behalf of Saffelberg. Itamar contends that Ectosense’s Motion should be
        denied and Ectosense should be admonished for making accusations against officers of the court
        in a public filing.

               Itamar believes that Mr. Benoot has information and documents that are important to its
        defense—that Mr. Kleinhender did not engage in disruptive conduct or unethical conduct that
        would warrant disqualification as counsel for Itamar. To provide factual support for its defenses,
        Itamar requires the evidence requested in this Request for International Judicial Assistance (Letter
        Rogatory). Itamar believes that contrary to the sentiments in Mr. Benoot’s Declaration, Mr. Benoot
        never indicated to Mr. Kleinhendler that he considered Mr. Kleinhendler’s communications to be
        direct threats or attempts to intimidate Saffelberg. If Itamar is able to obtain such evidence, it
        would be a significant defense to the Ectosense’s Motion to Disqualify Mr. Kleinhendler as
        counsel and to sanction Itamar and Mr. Kleinhendler.




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               Itamar contacted Ectosense’s counsel to request that the evidence from Mr. Benoot and
        Saffelberg requested herein to be provided voluntarily, but Ectosense refuses to do so. To date,
        Saffelberg and Benoot have not provided the requested information. As a result, Itamar is
        compelled to bring this Request for the evidence that is vital to the allegations being made in the
        Motion to Disqualify which, if granted, may have severe implications for Itamar’s lawsuit.

                   4. Documentary Evidence To Be Obtained:

             This Court respectfully requests that the FPSJ issue an order requiring production by Mr.
        Benoot and Saffelberg, as soon as is reasonably practicable, of the following:

                      a. All notes of any telephone or video conversations between Arnold Benoot and Gene
                         Kleinhendler.

                      b. All recordings of any telephone or video conversations between Arnold Benoot and
                         Gene Kleinhendler.

                      c. All communications between Arnold Benoot and Gene Kleinhendler.

                      d. All notes taken by Arnold Benoot related to conversations with Gene Kleinhendler.

                      e. All emails sent or received between Arnold Benoot and Ectosense regarding Gene
                         Kleinhendler.

                      f. All emails sent or received between Arnold Benoot and any third parties regarding
                         Gene Kleinhendler.

                      g. Any communications with anyone where Arnold Benoot expresses that he felt
                         intimidated or threated by Gene Kleinhendler.

                      h. Any handwritten notes where Arnold Benoot expresses that he felt intimidated or
                         threated by Gene Kleinhendler.

                      i. All documents evidencing any investigation undertaken by Arnold Benoot or
                         Saffelberg into the statements made by Gene Kleinhendler.

                      j. Documents sufficient to show the funding Saffelberg made to Ectosense prior to the
                         communications with Gene Kleinhendler in April and May of 2021.

                      k.   Documents evidencing any additional funding Saffelberg was planning to provide
                           Ectosense.

                      l. Communications between Saffelberg and Ectosense between April 12, 2021, to the
                         present, related in any way to Saffelberg’s funding of Ectosense.




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                      m. All communications between Saffelberg and Ectosense regarding the CPT
                         reimbursement codes, including, but not limited to, CPT 95800, for the NightOwl
                         devices.

                      n. All documents between Saffelberg and Ectosense regarding Ectosense’s 510(k)
                         clearance application for the NightOwl device.

                      o. All documents between Saffelberg and Ectosense regarding Ectosense’s
                         communications with the FDA regarding the NightOwl device.



                   5. Identity And Address Of Any Persons To Be Examined:

           Itamar requests an order that the following persons be examined as soon as is reasonably
        practicable:

             a. Arnold Benoot, working at 43 Oplombeekstraat 6 B-1755 Gooik, Belgium;

             b. A corporate representative of Saffelberg; and

             c. Any other individuals identifiable based on the documentary evidence produced, including
                the documents obtained as a result of the request for documents at paragraph 8 above.

                   6. Questions To Be Put To The Person To Be Examined Or Statement Of The Subject
                      Matter About Which They Are To Be Examined:

             a. Arnold Benoot and/or the Custodian of Records of Saffelberg will be requested to testify
                regarding the documents obtained as a result of the request for documents at paragraph 4
                above and the documents and other property obtained as a result of the request for
                documents or other property to be inspected at paragraph 7 below, including but not limited
                to, identifying, authenticating and laying a foundation for the admission into evidence of
                such documents and other property.

             b. Any other individuals identifiable based on the evidence produced, including the
                documents obtained as a result of the request for documents at paragraph 4 above and the
                documents or other property obtained as a result of the request for documents or other
                property to be inspected at paragraph 11 below.

             c. Arnold Benoot will be requested to testify regarding his conversations and correspondence
                with Gene Kleinhendler, his Declaration submitted in connection with the Motion to
                Disqualify, and any investigation conducted by him or Saffelberg in response to the
                discussions with Gene Kleinhendler.

             d. Saffelberg’s corporate representative will be requested to testify regarding Saffelberg’s
                awareness of the conversations and correspondence with Gene Kleinhendler, and any



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                   investigation conducted by Saffelberg in response to the discussions with Gene
                   Kleinhendler.

                   7. Documents Or Other Property To Be Inspected:

             a. All documents identified at paragraph 4 above.

             b. All computer and electronic equipment used by Mr. Benoot, including but not limited to,
                its computer hard drives and other electronically stored information related to the
                information sought in paragraph 4 above.

        It is requested that Mr. Benoot be ordered to produce the foregoing documents and property for
        inspection, and copying to:

                   Laura Ganoza
                   Foley & Lardner LLP
                   Suite 1900 One Biscayne Tower
                   2 South Biscayne Boulevard
                   Miami, FL 33131
                   305-482-8400
                   Fax: 305-482-8600
                   Email: lganoza@foley.com

              8. Any Requirement That The Evidence Be Given On Oath Or Affirmation And Any
        Special Form To Be Used:

                The examinations of the individuals identified in paragraph 5 of this document shall be
        taken under oath before (1) a secretary of embassy, consul general, consul, vice-consul, or consular
        agent of the United States of America or any officer authorized to administer oaths under the laws
        of the State of Florida, the United States of America, or Belgium, or (2) a person appointed by the
        FPSJ and empowered to administer oaths and take testimony.

                This Court further requests that the FPSJ require that the testimony given during the above
        described depositions be given under the following oath: “I [deponent] swear that the testimony
        that I am about to give is the truth, the whole truth and nothing but the truth, so help me God.” In
        the alternative, this Court requests that the FPSJ require that the person(s) giving testimony affirm
        the truthfulness of their testimony by the FPSJ’s proper and usual process.

                   9. Special Methods Or Procedures To Be Followed:

               The examinations of the individuals identified at paragraph 5 above will be taken under the
        procedures established by the United States Federal Rules of Civil Procedure, except to the extent
        that any such procedure is incompatible with the internal laws of Belgium applicable therein.




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               It is requested that the testimony be taken on oral examination, and that a verbatim transcript
        of the testimony be provided. If the evidence cannot be taken in this manner, it may be taken in
        such manner as provided by local law for the formal taking of evidence.

              Itamar further requests that its representatives listed above be authorized to take the
        examinations requested herein.

                   10. Request For Notification Of Time And Place For The Execution Of The Request And
                       Address Of Any Person To Be Notified:

                      Laura Ganoza, Esq.
                      lganoza@foley.com
                      atownsend@foley.com
                      One Biscayne Tower, Suite 1900
                      2 South Biscayne Boulevard
                      Miami, Florida 33131
                      Tel.: (305) 482-8400

                      Seth J. Donahoe, Esq.
                      sjd@trippscott.com
                      Tripp Scott, PA
                      110 SE 6th Street
                      Suite 15th Floor
                      Fort Lauderdale, FL 33301

                      Jonathan Bart Morton, Esq.
                      K&L Gates LLP
                      jonathan.mortan@klgates.com
                      Southeast Financial Center, Suite 3900
                      200 South Biscayne Boulevard
                      Miami, Florida 33131


                   11. Specification Of Privilege Or Duty To Refuse To Give Evidence Under The Law Of
                       The State Of Origin:

               Under the laws of the United States, a party has a privilege to refuse to give evidence if the
        evidence discloses a confidential communication between that party and an attorney for that party
        that was made for the purpose of obtaining legal advice.

               Parties also enjoy limited privileges on other grounds not relevant here such as
        communications between physician and patient, psychotherapist and patient, husband and wife, or
        clergy and penitent.

                   United States law also recognizes a privilege against criminal self-incrimination.




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                 Outside the strict area of privilege, certain limited immunities are available that may place
        restrictions on the giving of evidence, such as the limited protection of documents created as the
        work product of attorneys during or in anticipation of litigation.

                   12. The Reasonable Fees And Costs Incurred in Responding to This Request Will Be Borne
                       By:

                      Itamar Medical Ltd.
                      9 Halamish Street,
                      POBox 3579
                      Caesarea,
                      3088900 Israel

                   13. Reciprocity:

               The United States District Court for the Southern District of Florida expresses its
        appreciation to the FPSJ for its courtesy and assistance in this matter, and states that it shall be
        ready and willing to assist the courts of Ontario in a similar manner when so requested.

                   14. Signature And Seal Of Requesting Authority:




             Dated: _______________
                                                          Honorable Lurana S. Snow
                                                          United States Magistrate Judge
                                                          United States District Court
                                                          for the Southern District of Florida,
                                                          Fort Lauderdale Division


             SEAL OF COURT:




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